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13                                UNITED STATES DISTRICT COURT
14                               NORTHERN DISTRICT OF CALIFORNIA
15
     RODERICK MAGADIA, individually and           Case No.: 5:17-cv-00062-LHK
16   on behalf of all those similarly situated,
17                                                JOINT SETTLEMENT STATUS UPDATE
                    Plaintiff,
18                                                Date:        October 25, 2018
            vs.                                   Time:        1:30 p.m.
19                                                Courtroom:   8, 4th Floor
20   WAL-MART ASSOCIATES, INC., a                 Judge:       Hon. Lucy H. Koh
     Delaware corporation; WAL-MART
21   STORES, INC., a Delaware corporation;
     and DOES 1 through 50, inclusive,
22
23                  Defendants.

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14   Inc. and Wal-Mart Stores, Inc.
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 1             Plaintiff Roderick Magadia and Defendants Wal-Mart Associates, Inc. and Wal-Mart
 2   Stores, Inc. jointly submit this Joint Settlement Status Update:
 3             On September 28, 2018, the Parties renewed their settlement discussions with mediator
 4   Robert Kaplan. Since then, the Parties have continued to negotiate with Mr. Kaplan’s help. The
 5   discussions have been productive and are ongoing, but the Parties have not yet resolved the
 6   dispute. The Parties will immediately notify the Court if they reach an agreement. If the case
 7   does not settle, the Parties are prepared to proceed to trial.
 8
 9
     DATED: October 12, 2018                        DIVERSITY LAW GROUP, P.C.
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11
                                                    By:     /s/ Larry W. Lee
12                                                           Larry W. Lee
                                                             Attorneys for Plaintiff and the Class
13
14   DATED: October 12, 2018                        Duane Morris LLP

15
                                                    By:     /s/ Aaron Winn
16
                                                          Aaron Winn
17                                                        Attorneys for Wal-Mart Associates, Inc., and
                                                          Wal-Mart Stores, Inc.
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